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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  CAROLYN BALDWIN,                                              )
                                                                )
                                Plaintiff,                      )
                                                                )     CIVIL ACTION
  vs.                                                           )
                                                                )     Case No. 1:24-CV-03137
  RODAN ENTERPRISES LLC,                                        )
                                                                )
                                Defendant.                      )


                                              COMPLAINT

         COMES NOW, CAROLYN BALDWIN, by and through the undersigned counsel, and

  files this, her Complaint against Defendant, RODAN ENTERPRISES LLC, pursuant to the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

  Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

  respectfully shows this Court as follows:

                                             JURISDICTION

         1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

  and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

  RODAN ENTERPRISES LLC, failure to remove physical barriers to access and violations of

  Title III of the ADA.

                                               PARTIES

         2.      Plaintiff CAROLYN BALDWIN (hereinafter “Plaintiff”) is and has been at all

  times relevant to the instant matter, a natural person residing in Littleton, CO (Douglas County).

         3.      Plaintiff is disabled as defined by the ADA.




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         4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

  performing one or more major life activities, including but not limited to: walking, standing,

  grabbing, grasping and/or pinching.

         5.      Plaintiff uses a wheelchair for mobility purposes.

         6.      In addition to being a customer of the public accommodation on the Property,

  Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

  is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

  ensuring whether places of public accommodation are in compliance with the ADA. Her

  motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

  Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

  necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

  access identified in this Complaint are removed in order to strengthen the already existing

  standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

  numerous ADA violations on this property. (“Advocacy Purposes”).

         7.      Defendant,      RODAN         ENTERPRISES          LLC,     (hereinafter   “RODAN

  ENTERPRISES LLC”) is a domestic limited liability limited partnership that transacts business

  in the State of Colorado and within this judicial district.

         8.      Defendant, RODAN ENTERPRISES LLC, may be properly served with process

  via its Registered Agent for service, to wit: c/o Ronald R. Sims, Registered Agent, 7948 Trotter

  Lane, Lone Tree, CO 80124.

                                     FACTUAL ALLEGATIONS

         9.      On or about October 13, 2024, Plaintiff attempted to be a customer at “El Karajo

  Mexican Restaurant,” a restaurant located at 6600 S. Quebec Street A, Centennial, CO 80111,



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  referenced herein as “El Karajo”. Unfortunately, Plaintiff was unable to enter the restaurant due

  to barriers at the entrance which made it inaccessible, but her caregiver made the purchase for

  Plaintiff. See receipt attached hereto as Exhibit 1. See also photo of Plaintiff attached as Exhibit

  2.

         10.     Defendant, RODAN ENTERPRISES LLC, is the owner or co-owner of the real

  property and improvements that El Karajo is situated upon and that is the subject of this action,

  referenced herein as the “Property.”

         11.     Defendant, RODAN ENTERPRISES LLC, is responsible for complying with the

  ADA for both the exterior portions and interior portions of the Property. Even if there is a lease

  between Defendant, RODAN ENTERPRISES LLC, and a tenant allocating responsibilities for

  ADA compliance within the unit the tenant operates, that lease is only between the property

  owner and the tenant and does not abrogate the Defendant’s requirement to comply with the

  ADA for the entire Property it owns, including the interior portions of the Property which are

  public accommodations. See 28 CFR § 36.201(b).

         12.     Plaintiff’s access to El Karajo and the other businesses, located at 6600 S. Quebec

  Street, Centennial, CO 80111, Arapahoe County Property Appraiser’s property identification

  number: 2075-21-3-22-002 (“the Property”), and/or full and equal enjoyment of the goods,

  services, foods, drinks, facilities, privileges, advantages and/or accommodations offered therein

  were denied and/or limited because of her disabilities, and she will be denied and/or limited in

  the future unless and until Defendant is compelled to remove the physical barriers to access and

  correct the ADA violations that exist at the Property, including those set forth in this Complaint.

         13.     Plaintiff lives less than 4 miles from the Property.




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         14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

  travels by the Property.

         15.     Plaintiff has visited the Property once before as a customer and advocate for the

  disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

  detailed in this Complaint are removed and the Property is accessible again. The purpose of the

  revisit is to be a return customer to Colonna’s, to determine if and when the Property is made

  accessible and to substantiate already existing standing for this lawsuit for Advocacy Purposes.

         16.     Plaintiff intends on revisiting the Property to purchase food and/or services as a

  return customer as well as for Advocacy Purposes but does not intend to re-expose herself to the

  ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

  known to Plaintiff to have numerous and continuing barriers to access.

         17.     Plaintiff travelled to the Property as a customer once before as a customer,

  personally encountered many barriers to access the Property that are detailed in this Complaint,

  engaged many barriers, suffered legal harm and legal injury, and will continue to suffer such

  harm and injury if all the illegal barriers to access present at the Property identified in this

  Complaint are not removed.

         18.     Although Plaintiff may not have personally encountered each and every barrier to

  access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

  to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

  advocate for the disabled within six months or sooner after the barriers to access are removed, it

  is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

  may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

  for example, one accessible parking space may not be available and she would need to use an



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  alternative accessible parking space in the future on her subsequent visit. As such, all barriers to

  access identified in the Complaint must be removed in order to ensure Plaintiff will not be

  exposed to barriers to access and legally protected injury.

         19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

  in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

  Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

  Congress and is historically viewed by Federal Courts as an injury in fact.

                                       COUNT I
                           VIOLATIONS OF THE ADA AND ADAAG

         20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

  U.S.C. § 12101 et seq.

         21.     Congress found, among other things, that:

         (i)     some 43,000,000 Americans have one or more physical or mental
                 disabilities, and this number is increasing as the population as a whole is
                 growing older;

         (ii)    historically, society has tended to isolate and segregate individuals with
                 disabilities, and, despite some improvements, such forms of discrimination
                 against individuals with disabilities continue to be a serious and pervasive
                 social problem;

         (iii)   discrimination against individuals with disabilities persists in such critical
                 areas as employment, housing public accommodations, education,
                 transportation, communication, recreation, institutionalization, health
                 services, voting, and access to public services;

         (iv)    individuals with disabilities continually encounter various forms of
                 discrimination, including outright intentional exclusion, the discriminatory
                 effects of architectural, transportation, and communication barriers,
                 overprotective rules and policies, failure to make modifications to existing
                 facilities and practices, exclusionary qualification standards and criteria,
                 segregation, and relegation to lesser service, programs, activities, benefits,
                 jobs, or other opportunities; and

         (v)     the continuing existence of unfair and unnecessary discrimination and


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                 prejudice denies people with disabilities the opportunity to compete on an
                 equal basis and to pursue those opportunities for which our free society is
                 justifiably famous, and costs the United States billions of dollars in
                 unnecessary expenses resulting from dependency and non-productivity.

  42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

         22.     Congress explicitly stated that the purpose of the ADA was to:

         (i)     provide a clear and comprehensive national mandate for the elimination of
                 discrimination against individuals with disabilities;

         (ii)    provide a clear, strong, consistent, enforceable standards addressing
                 discrimination against individuals with disabilities; and

                 *****

         (iv)    invoke the sweep of congressional authority, including the power to
                 enforce the fourteenth amendment and to regulate commerce, in order to
                 address the major areas of discrimination faced day-to-day by people with
                 disabilities.

  42 U.S.C. § 12101(b)(1)(2) and (4).

         23.      The congressional legislation provided places of public accommodation one and

  a half years from the enactment of the ADA to implement its requirements.

         24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

  1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

  § 12181; 28 C.F.R. § 36.508(a).

         25.     The Property is a public accommodation and service establishment.

         26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

  Department of Justice and Office of Attorney General promulgated federal regulations to

  implement the requirements of the ADA. 28 C.F.R. Part 36.

         27.     Public accommodations were required to conform to these regulations by January

  26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of



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  $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

         28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

         29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

  her capacity as a customer at the Property and as an independent advocate for the disabled, but

  could not fully do so because of her disabilities resulting from the physical barriers to access,

  dangerous conditions and ADA violations that exist at the Property that preclude and/or limit her

  access to the Property and/or the goods, services, facilities, privileges, advantages and/or

  accommodations offered therein, including those barriers, conditions and ADA violations more

  specifically set forth in this Complaint.

         30.     Plaintiff intends to visit the Property again as a customer and as an independent

  advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

  advantages and/or accommodations commonly offered at the Property, but will be unable to fully

  do so because of her disability and the physical barriers to access, dangerous conditions and

  ADA violations that exist at the Property that preclude and/or limit her access to the Property

  and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

  therein, including those barriers, conditions and ADA violations more specifically set forth in

  this Complaint.

         31.     Defendant, RODAN ENTERPRISES LLC, has discriminated against Plaintiff

  (and others with disabilities) by denying her access to, and full and equal enjoyment of the

  goods, services, facilities, privileges, advantages and/or accommodations of the Property, as

  prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

  12182(b)(2)(A)(iv).




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         32.       Defendant, RODAN ENTERPRISES LLC, will continue to discriminate against

  Plaintiff and others with disabilities unless and until Defendant, RODAN ENTERPRISES LLC,

  is compelled to remove all physical barriers that exist at the Property, including those

  specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

  other persons with disabilities.

         33.       A specific list of unlawful physical barriers, dangerous conditions and ADA

  violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

  access to the Property and the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages and accommodations of the Property include, but are not limited to:

  ACCESSIBLE ELEMENTS:

                 i.   Nearest Unit A, the accessible parking space does not have a marked access

                      aisle in violation of Section 502.3.3 of the 2010 ADAAG standards. This

                      barrier to access makes it nearly impossible for an individual in a wheelchair

                      to enter and exit their vehicle at this accessible parking space due to the close

                      presence of parked vehicles on either side of the accessible parking space not

                      providing enough room for the wheelchair, this eliminates the accessible route

                      from this accessible parking space.

               ii.    Nearest Unit A, the accessible parking space is missing an identification sign

                      in violation of Section 502.6 of the 2010 ADAAG standards. This barrier to

                      access would make it difficult for Plaintiff to locate an accessible parking

                      space.

               iii.   Nearest Unit A, the Property lacks an accessible route from the accessible

                      parking space to the accessible entrances of the Property in violation of



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                 Section 208.3.1 of the 2010 ADAAG standards. This barrier is due in part to

                 the barrier to access identified in (i) above as well as a lack of a nearby clear

                 access route leading from the parking lot to the accessible entrances. This

                 barrier to access would make it difficult for Plaintiff to access the units of the

                 Property.

           iv.   Nearest Unit A, the accessible parking space has a cross-slope in excess of

                 1:48 in violation of Section 502.4 of the 2010 ADAAG standards. A cross-

                 slope in an accessible parking space could cause the Plaintiff’s wheelchair to

                 tip or roll away from the vehicle leaving Plaintiff stranded.

           v.    Nearest Unit E, the two accessible parking spaces do not have a marked

                 access aisle in violation of Section 502.3.3 of the 2010 ADAAG standards.

                 This barrier to access makes it nearly impossible for an individual in a

                 wheelchair to enter and exit their vehicle at this accessible parking space due

                 to the close presence of parked vehicles on either side of the accessible

                 parking space not providing enough room for the wheelchair, this eliminates

                 the accessible route from these accessible parking spaces.

           vi.   As a result of the barriers to access identified in (v) above, these accessible

                 parking spaces are not located on an accessible route in violation of Section

                 208.3.1 of the 2010 ADAAG standards. For one of the accessible parking

                 spaces, there is a vehicle parked on one side and a ramp/raised sidewalk on

                 the other, thus preventing Plaintiff’s van lift from extending and allowing her

                 to leave. The other accessible parking space has a car parked on one side and

                 the other side is open to vehicular traffic, which would force Plaintiff to



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                  dangerously and improperly enter and exit her vehicle within oncoming traffic

                  exposing her to being struck by a vehicle.

          vii.    Nearest Unit E, the two accessible parking spaces are missing an identification

                  sign in violation of Section 502.6 of the 2010 ADAAG standards. This barrier

                  to access would make it difficult for Plaintiff to locate an accessible parking

                  space.

          viii.   Due to a policy by one or more of the tenants of the Property of leaving doors

                  open and placing objects in the accessible route, there are publicly accessible

                  areas of the Property having accessible routes with clear widths below the

                  minimum 36 (thirty-six) inch requirement as required by Section 403.5.1 of

                  the 2010 ADAAG standards. This barrier to access would make it difficult for

                  Plaintiff to access the rest of the units of the Property as Plaintiff’s wheelchair

                  would not be able to get past this barrier.

           ix.    Due to a policy by one or more of the tenants of the Property of leaving doors

                  open and placing objects in the accessible route, the Property lacks an

                  accessible route connecting accessible facilities, accessible elements and/or

                  accessible spaces of the Property in violation of Section 206.2.2 of the 2010

                  ADAAG standards. This barrier to access would make it difficult for Plaintiff

                  to access public features of the Property.

            x.    Inside El Karajo Mexican Restaurant, the door hardware providing access to

                  the restroom area requires tight grasping and twisting of the wrist in violation

                  of Section 404.2.7 of the 2010 ADAAG standards. This barrier to access

                  would make it difficult for Plaintiff and/or any disabled individual to utilize



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                  the restroom facilities.

           xi.    Inside El Karajo Mexican Restaurant, the bar is lacking any portion of the

                  counter that has a maximum height of 34 (thirty-four) inches from the finished

                  floor in violation of Section 902.3 of the 2010 ADAAG standards, all portions

                  of the bar exceed 34 (thirty-four) inches in height from the finished floor. This

                  barrier to access would make it difficult for Plaintiff to enjoy the unique

                  eating experience at the bar.

          xii.    Inside El Karajo Mexican Restaurant, the door leading from the restroom back

                  to the main restaurant area lacks a clear minimum maneuvering clearance, due

                  to the proximity of the door hardware within 18 inches to the adjacent wall, in

                  violation of Section 404.2.4 of the 2010 ADAAG standards. This barrier to

                  access would make it difficult for Plaintiff and/or any disabled individual to

                  safely utilize the restroom due to the fact individuals in wheelchairs have their

                  feet sticking out in front of them and when there is inadequate clearance near

                  the door (less than 18 inches), their protruding feet block their ability to reach

                  the door hardware to open the door.


          xiii.   Inside El Karajo Mexican Restaurant, the accessible entrance has inner double

                  doors, each door is not thirty-two (32) inches in clear width in violation of

                  Section 404.2.3 of the 2010 ADAAG standards. This barrier to access would

                  make it difficult and dangerous for Plaintiff to access the interior of the

                  Property.

          xiv.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

                  facilities are readily accessible to and usable by disabled individuals.


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  EL KARAJO MEXICAN RESTAURANT RESTROOMS

           xv.    The restroom lacks signage in compliance with Sections 216.8 and 703 of the

                  2010 ADAAG standards. This barrier to access would make it difficult for

                  Plaintiff and/or any disabled individual to locate accessible restroom facilities.

          xvi.    Restrooms have a pedestal sink with inadequate knee and toe clearance in

                  violation of Section 306 of the 2010 ADAAG standards. This barrier to access

                  would make it difficult for Plaintiff and/or any disabled individual to utilize

                  the restroom sink as Plaintiff is seated in a wheelchair and, when seated,

                  Plaintiff’s feet and legs protrude out in front. In order to properly utilize a

                  sink, Plaintiff’s legs must be able to be underneath the surface of the sink, but

                  due to the improper configuration of the sink, there is no room underneath for

                  Plaintiff’s legs and feet.

         xvii.    The lavatories and/or sinks in the restrooms have exposed pipes and surfaces

                  and are not insulated or configured to protect against contact in violation of

                  Section 606.5 of the 2010 ADAAG standards. This barrier to access would

                  make it difficult for Plaintiff and/or any disabled individual to safely utilize

                  the sink as the pipes underneath the sink typically have sharp surfaces and/or

                  hot pipes, and since individuals in wheelchairs use a sink while seated, their

                  legs are particularly vulnerable to these threats.

         xviii.   The accessible toilet stall door is not self-closing and violates Section

                  604.8.1.2 of the 2010 ADAAG standards. This barrier to access would make it

                  difficult for the Plaintiff and/or any disabled individual to safely and privately

                  utilize the restroom facilities.



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          xix.    The hand operated flush control is not located on the open side of the

                  accessible toilet in violation of Section 604.6 of the 2010 ADAAG standards.

                  This barrier to access would make it difficult for Plaintiff and/or any disabled

                  individual to flush the toilet as the location of the flush control on the open

                  side is significantly easier to reach than when it is positioned on the closed

                  side.

           xx.    The distance of the centerline of the toilet is more than 18” from the side wall.

                  As a result, the toilet is not adequately positioned from the side wall or

                  partition positioning in violation of Section 604.2 of the 2010 ADAAG

                  standards. This barrier to access would make it difficult for Plaintiff and/or

                  any disabled individual to safely utilize the restroom facilities.

          xxi.    In the men’s restroom, the rear grab bar is positioned less than 33” above the

                  finished floor and is not positioned in accordance with Section 609.4 of the

                  2010 ADAAG standards. This barrier to access would make it difficult for

                  Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

         xxii.    The women’s restroom has grab bars adjacent to the commode which are not

                  in compliance with Section 604.5 of the 2010 ADAAG standards as the rear

                  bar is missing. This barrier to access would make it difficult for Plaintiff

                  and/or any disabled individual to safely transfer from the wheelchair to the

                  toilet and back to the wheelchair.

         xxiii.   The side grab bar is positioned too far from the toilet and is not in compliance

                  with Section 604.5 of the 2010 ADAAG standards. This barrier to access

                  would make it difficult for Plaintiff and/or any disabled individual to safely



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                       transfer from the wheelchair to the toilet and back to the wheelchair.

            xxiv.      The accessible toilet stall door swings into the clear floor space required by

                       the stall and violates Section 604.8.1.2 of the 2010 ADAAG standards. This

                       barrier to access would make it difficult for the Plaintiff and/or any disabled

                       individual to safely utilize the restroom facilities.

            xxv.       Due to the placement of a toilet paper dispenser within 12” above

                       the side grab bar, there is inadequate space between the grab bar and objects

                       placed above the grab bar in violation of Section 609.3 of the 2010 ADAAG

                       Standards. This barrier to access would make it difficult for Plaintiff to safely

                       transfer from the wheelchair to the toilet and back.

         34.        The violations enumerated above may not be a complete list of the barriers,

  conditions or violations encountered by Plaintiff and/or which exist at the Property.

         35.        Plaintiff requires an inspection of the Property in order to determine all of the

  discriminatory conditions present at the Property in violation of the ADA.

         36.        The removal of the physical barriers, dangerous conditions and ADA violations

  alleged herein is readily achievable and can be accomplished and carried out without significant

  difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

         37.        All of the violations alleged herein are readily achievable to modify to bring the

  Property into compliance with the ADA.

         38.        Upon information and good faith belief, the removal of the physical barriers and

  dangerous conditions present at the Property is readily achievable because the nature and cost of

  the modifications are relatively low.




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            39.    Upon information and good faith belief, the removal of the physical barriers and

  dangerous conditions present at the Property is readily achievable because Defendant, RODAN

  ENTERPRISES LLC, has the financial resources to make the necessary.

            40.    Upon information and good faith belief, the removal of the physical barriers and

  dangerous conditions present at the Property is readily achievable because Defendant, RODAN

  ENTERPRISES LLC, has the financial resources to make the necessary modifications.

  According to the Property Appraiser, the Appraised value of the Property is $2,254,000.00.

            41.    The removal of the physical barriers and dangerous conditions present at the

  Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

  and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

  modifications.

            42.    Upon information and good faith belief, the Property has been altered since 2010.

            43.    In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

  standards apply, and all of the alleged violations set forth herein can be modified to comply with

  the 1991 ADAAG standards.

            44.    Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

  reasonably anticipates that she will continue to suffer irreparable harm unless and until

  Defendant, RODAN ENTERPRISES LLC, is required to remove the physical barriers,

  dangerous conditions and ADA violations that exist at the Property, including those alleged

  herein.

            45.    Plaintiff’s requested relief serves the public interest.

            46.    The benefit to Plaintiff and the public of the relief outweighs any resulting

  detriment to Defendant, RODAN ENTERPRISES LLC.



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           47.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

  litigation from Defendant, RODAN ENTERPRISES LLC, pursuant to 42 U.S.C. §§ 12188 and

  12205.

           48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

  injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, RODAN

  ENTERPRISES LLC, to modify the Property to the extent required by the ADA.

           WHEREFORE, Plaintiff prays as follows:

           (a)   That the Court find Defendant RODAN ENTERPRISES LLC, in violation of the

                 ADA and ADAAG;

           (b)   That the Court issue a permanent injunction enjoining Defendant, RODAN

                 ENTERPRISES LLC, from continuing their discriminatory practices;

           (c)   That the Court issue an Order requiring Defendant, RODAN ENTERPRISES

                 LLC, to (i) remove the physical barriers to access and (ii) alter the subject

                 Property to make it readily accessible to and useable by individuals with

                 disabilities to the extent required by the ADA;

           (d)   That the Court award Plaintiff her reasonable attorneys' fees, litigation expenses

                 and costs; and




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       (e)   That the Court grant such further relief as deemed just and equitable in light of the

             circumstances.

       Dated: November 12, 2024.

                                           Respectfully submitted,

                                           Law Offices of
                                           THE SCHAPIRO LAW GROUP, P.L.

                                           /s/ Douglas S. Schapiro
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